               Case 3:20-cv-05671-JD Document 622-49 Filed 12/21/23 Page 1 of 3


                               Google-Samsung Store Agreement Term Sheet
                                                               June 20th, 2019
                                                               June  20th 2019


     This Term Sheet summarizes the business terms of a     aproposed agreement between Samsung ("Samsung") and Google Inc.
          Google") (collectively "Parties").
        ("Google")                Parties"). This Term Sheet is for discussion purposes only and is not intended to be binding on
      either party. Neither party shall have any legal obligations to the other until a
                                                                                      adefinitive agreement is signed by both Parties.




                                                                                                           is
        Criteria          Consideration                                           Samsung position

   Structure             Goal                      Prevent unnecessary competition on store to enable:
                                                   - For developers: Unified window for app distribution to allow
                                                   -




                                                       streamlined cycle for app development, distribution and update
                                                                                                 & download quality apps
                                                   - For consumers: Diverse channels to discover &
                                                   -




                        Principles                                lAP as the main payment module on Galaxy Store
                                                   Utilize Google IAP
                                               ••Stop distributing 3rd Party app/game installer via Galaxy Store
                                               ••Allow Samsung to curate, show and distribute all apps on Play Store
                                                                                                     & Galaxy Store
                                                   - Launch same app/game at same time on Play Store &
                                                   -




                                               •• Joint-PR on Store partnership

                         Term length               5years
                                                   5

                         Scope                 • Galaxy store on Android Smartphones and Tablets
                                               ••Android apps with exception of items tagged with Samsung IAP
                                                                                                          lAP below:

                                                                                   Existing Apps                New Apps

                                                        Game                                lAP
                                                                                    Samsung IAP                    lAP
                                                                                                            Google IAP

                                                        Non -Game
                                                        Non-Game                    Samsung IAP
                                                                                            lAP             Google IAP
                                                                                                                   lAP

                                                           Made             for                                    lAP!
                                                                                            lAP
                                                                                    Samsung IAP           Samsung IAP/
                                                           Samsung                                                lAP
                                                                                                           Google IAP

                                                       X(Existing app without Samsung IAP
                                                                                      lAP will be directed to Play Store

                                               • Games in pipeline, AR/Cloud Game, Block-chain apps to be excluded


                               & Geo
                         Model &                   All new/existing devices once the integrated store model is launched

                         Coverage                  Global except the countries where Play Store is not available

   Product              Promotion              • Google to convince developers to apply following filters for running
                                               •




   Differentiation       Support                   promotions tailored to Galaxy devices
                                                   - Device Model
                                                   -




                                                   - Game
                                                   -




                                                   - Item
                                                   -




                                                   - Period
                                                   -




                                                   - Country
                                                   -
                                                                                             EXHIBIT 652
                                                   - Carrier
                                                   -




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                           -                                                                                      GOOG-PLAY4-004259430

                                                                                                                           EXHIBIT 652-001
             Case 3:20-cv-05671-JD Document 622-49 Filed 12/21/23 Page 2 of 3


                                   - Billing Type
                                   -




                                 ••Show applied discount schemes on Google IAP
                                                                           lAP UI

                                 ••Insert
                                   Insert Samsung's promotion page Pre-/Post-purchase


                   Joint           Set-up regular practice to co-develop following items for Android Game
                  Engineering      ecosystem and allow time-to-market exclusivity

                                   1) Graphics I
                                   1)          / Gaming
                                   - Avoiding APK I
                                   -              / Expansion file size restriction (100MB I
                                                                                           / 2GB)
                                                     Monitor!/ Manager
                                   - Enhanced Memory Monitor
                                   -




                                   - Gaming Aware Scheduler I
                                   -                        / Governor
                                   - Improved Controller Support
                                   -




                                   - New Vulkan API Version
                                   -




                                   2) Tooling
                                   - Interaction with Game Engine Profiler
                                   -




                                   - Unified Graphics debugger
                                   -




                                   - GPU deep dive profiler
                                   -




                                   3) Display
                                   - Variable Frame Rate
                                   -




                                   - High Refresh Rate
                                   -




                                   - Adaptive Sync
                                   -




                   SLA                                  + TAM team
                                   Dedicated Play Store +
                                 ••Google to setup aacustomer VOC team (respond within 33working days)

                  Escalations      VPISVP level escalation process in case critical issue arises
                                   VP/SVP

   Payment        lAP
                  IAP                                                               lAP
                                   Samsung Pay included as payment option in Google IAP
                                 ••Customize Google IAP
                                                    lAP UI to fit Galaxy Store's design


                  Account          For users without Google Account or not signed in to Google, allow
                                   users to download free apps without Google log-in process

   Data           Data sharing     Google to share following data from transaction in Galaxy Store
                                   - Package Title
                                   -




                                   - Package Name
                                   -




                                   - App Life-cycle (Install, Uninstall, Usage Log)
                                   -




                                   - App Search (Search Keyword)
                                   -




                                   - Navigation on detailed pages
                                   -




                                   - Payment Type, Refund, Price
                                   -




                                   - Discount/Coupon application
                                   -




                                 X Google AD ID
                                             ID as identifier. In case Google cannot provide data based
                                   on Google AD ID, provide list of data mapped to aaseparate ID scheme.




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                     -                                                                  GOOG-PLAY4-004259431
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                                                                                                    EXHIBIT 652-002
              Case 3:20-cv-05671-JD Document 622-49 Filed 12/21/23 Page 3 of 3



                                   ••Google to share following app-related data per apps distributed
                                     - App description and images for curation
                                     -




                                     - Rating, User Comments
                                     -




                                           100 List, etc.
                                     - Top 100
                                     -




                                     - Number of Download per app
                                     -




                                     - Revenue per app
                                     -




   Business        Fund             $50M/Year funding for 5 years

                   Revenue Share        RIS on Google's Revenue generated from Galaxy Store
                                    50% R/S




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                     -                                                                    GOOG-PLAY4-004259432

                                                                                                   EXHIBIT 652-003
